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                                 UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF NEW YORK

    P01tal Instrnments, Inc.,

                                 Plaintiff,

    V.                                                 Case No.: 22-9156
                                                       JURY TRIAL DEMANDED
    LEO Phanna A/S,

                                 Defendant.


                                              COMPLAINT

          Plaintiff Po1tal Instnunents, Inc. ("Po1tal" or "Plaintiff'), by and through its attorneys at

Latham & Watkins LLP, brings this action against Defendant LEO Pha1ma A/S ("LEO" or

"Defendant") (together, the "Pa1ties"), and alleges as follows: 1

                                    STATEMENT OF THE CASE

          1.       This case arises out of Defendant LEO's failure to make contractually required

payments to Plaintiff Po1tal under the patties' Collaboration and License Agreement dated

December 3, 2019 (the "Agreement," attached hereto as Exhibit A).2 Plaintiff Portal is a sta1t-up

company focused on developing innovative, needle-free mug delive1y platf01ms to help patients

with chronic diseases safely, quickly and reliably self-administer medications that improve their

quality of life.




1
 Based on discussions with the Clerk's Office regarding proper filing protocol, Poital has
redacted certain po1tions of the Complaint that it believes could be subject to a confidentiality
agreement entered into with LEO. Upon issuance of a summons and assignment of this case to a
specific Judge, Po1tal intends to promptly serve its Complaint on LEO and file a sealed version
with the appropriate motion in accordance with the Judge's prefened procedures.
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  P01tal will seek leave to file the intended exhibits under seal once a judge has been assigned to
this matter, so that Pmtal can comply with the judge's individual mies on sealing.
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        2.       In December 2019, Portal and the pharmaceutical giant LEO entered into an

agreement whereby LEO agreed to pay P01ial in installments to fund the development of a drng

delivery system for LEO 's products. Po1ial worked diligently to develop this system, but LEO

abrnptly changed its mind and cancelled the program, refusing to make development payments it

had contractually pledged to make even while it admitted to be pleased with Porial's work and

temlinating without cause.

        3.       LEO also pledged to make milestone payments to P01ial if its product achieved

certain benchmarks in testing. P01ial's product hit its benchmark, but LEO refused to make this

payment as well.

        4.       Porial's first count alleges that LEO breached the pa1iies' contract by failing to

make a -                quarierly installment payment required by Section 7 .2 of the Agreement.

P01ial' s second count alleges that LEO separately breached the pariies' contract by failing to make

a-             milestone payment required by section 7.3 of the Agreement. Portal's third count

alleges that LEO breached its implied covenant of good faith and fair dealing by failing to make

the ~             installment payment and the-              milestone payment. Portal seeks damages

for these breaches of no less than ~              , plus fees and prejudgment interest.

                                               PARTIES

        5.       Plaintiff Porial is a corporation that is incorporated in Delawar·e and has its principal

place of business in Cambridge, Massachusetts.            P01tal is a biotech company focused on

developing a needle-free drng delive1y platform. This platform, based on technology developed

at MIT, would allow patients with chronic diseases to administer their own medication at home

without the use of needles - which are inconveruent, difficult to use and dispose of, hazar·dous to

children, and a somce of fear or anxiety for many patients.




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        6.       Upon information and belief, Defendant LEO is a corporation organized under the

laws of the Kingdom of Denmark and has its principal place of business in Ballerup, Denmark.

LEO is a pha1maceutical company engaged in the research, development and commercialization

of therapeutic drugs useful in the amelioration, treatment and/or prevention of human diseases and

conditions.

                                 JURISDICTION AND VENUE

        7.       This comt has subject-matter jurisdiction pursuant to 28 U.S.C. § 1332(a)(2)

because the action is brought by a citizen of a state within the United States against a citizen of a

foreign state, and the matter in controversy exceeds the sum or value of $75,000 exclusive of costs

and interest.

        8.       This Court has personal jurisdiction over LEO pursuant to C.P.L.R. § 302 and

General Obligations Law § 5-1402 because this action arises out of the Agreement between the

Pa1ties. The Agreement is governed by New York law and reflects the Pa1ties' consent to the

jurisdiction of the state or federal comts of New York. Section 14.ll(c) of the Agreement

stipulates:

        THE PARTIES IRREVOCABLY ACCEPT THE EXCLUSIVE JURISDICTION
        OF [NEW YORK] COURTS SOLELY AND SPECIFICALLY FOR THE
        PURPOSE OF ADJUDICATING DISPUTES ARISING OUT OF OR IN
        CONNECTION WITH THIS AGREEMENT AND ANY OTHER AGREEMENT
        ENTERED INTO PURSUANT HERETO OR IN CONNECTION HEREWITH
        (INCLUDING    MATTERS   REGARDING    THE   CONSTRUCTION,
        INTERPRETATION AND ENFORCEABILITY OF SUCH AGREEMENTS),
        AND IN NO EVENT SHALL ANY PARTY BE DEEMED TO HAVE
        CONSENTED TO SUCH JURISDICTION FOR ANY OTHER PURPOSE.
        EACH PARTY FURTHER AGREES THAT SUCH COURTS PROVIDE A
        CONVENIENT FORUM FOR ANY SUCH ACTION, AND WAIVES ANY
        OBJECTIONS OR CHALLENGES TO VENUE WITH RESPECT TO SUCH
        COURTS.




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       9.       Venue is proper in this county pmsuant to 28 U.S.C. 13 91(c)(2) because this action

arises out of a contract pursuant to which the pa1ties have agreed to submit to the laws and

jurisdiction of the State of New York.

                                              FACTS

A.     Development of the 1x2ml System

       10.      On December 3, 2019, the Paities entered into the Agreement. The pmpose of the

Agreement was for the pa1ties to jointly develop a vai·iety of drng delive1y systems that could be

used by patients taking LEO's diugs. Under the Agreement, LEO agreed to make a one-time

payment to Portal, a series of installment payments once Po1tal began developing one or more diu g

delivery systems, and a vai·iety of milestone payments triggered by specific events in the

development process.

       11.      Under the Agreement, LEO could request that Po1ial develop either (1) a diug

delive1y system capable of delivering 2mL of LEO's drng in a single injection (the " l x2mL

System"), (2) a drng delive1y system capable of delivering 2mL of LEO's diug in two sequential

injections (the "2xlmL System"), or (3) both systems.

       12.      The Agreement obligated LEO to elect one of the three options in the foregoing

paragraph and required LEO and P01tal to ''use Commercially Reasonable Effmt s to collaborate

in Developing the Product." Agreement § 4.1 (Ex. A). The Agreement also allowed LEO to, "any

point after making its election pursuant to this Section 4.2, in its sole discretion, provide Po1tal

with written notification to change its election, including to cease and/or commence to Develop a

System under the Development Plan." Id. § 4.2.

       13.      Section 7.2(a) of the Agreement stated that, in the event that LEO elected to develop

the lx2mL System, LEO agreed to pay-                  to Pmtal in the fmm of ten quarterly payments

o f - each (the "Development Fee"). Agreement § 7.2(a) (Ex. A). Pursuant to Section


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7.2(a) of the Agreement, the Development Fee was due at the beginning of the respective calendar

quaiier.

           14.    In the event that LEO wished to tenninate the Agreement, or the development of

any product under the Agreement, Section l 7.2(a) required LEO to provide Po1ial with "ninety

(90) days' prior written notice." This notice requirement applied whether LEO chose "to tenninate

the Agreement in its entirety, on a Product-by-Product basis, or on a county-by-country [sic]

basis."

           15.    LEO elected to begin development of the lx2mL System in early Janua1y 2020,

and Po1tal began working on the lx2mL System at that time.

           16.    Based on LEO' s election and representations, Poital allocated substantial resomces

towards the development of the lx2mL System, including hiring several employees and incuning

extensive front-end development costs.

           17.    On April 3, 2020 LEO confirmed in writing that it would be developing the lx2mL

System, which under the tenns of the Agreement obligated LEO to make a total of ten quaiierly

R&D payments to P01tal, including for the first quaiier of 2020. LEO and P01tal agreed that LEO

would make payments on the following schedule:

                     Payment                      Due Date                       Amount

            First Qua1terly Payment      01/01/2020

            Second Qua1ierly Payment     04/0 1/2020

            Third Quaiterly Payment      07/01/2020

            Fomth Quarterly Payment      10/01/2020

            Fifth Quarterly Payment      01/01/2021

            Sixth Quaiterly Payment      04/01/2021




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         Seventh Quarterly Payment 07/01/2021

         Eighth Quarterly Payment       10/01/2021

         Ninth Qua1t erly Payment       O1/01/2022

         Tenth Quart erly Payment       04/01/2022



        18.     LEO made seven quarterly payments to Portal, comprising the fom quarters of 2020

and the first three qua1ters of 2021.

        19.     Throughout 2020, and the first three quarters of 2021, LEO's and Portal' s teams

worked closely together to develop the 1x2mL System.

B.     LEO's Termination of the Agreement

       20.      On September 15, 2021, LEO provided Pmtal with a termination notice

("Temrination Notice," attached hereto as Exhibit B), announcing that the Agreement would be

terminated "with effect as of December 22, 2021" - 90 days after the Termination Notice was

provided.

       21.      The Termination Notice asserted that LEO was electing to "cease the Development

of the l x2mL System" with "immediate effect," and that it had "no obligation to make any future

installment payments towards the lx2mL System Development Fee." Termination Notice (Ex.

B).

       22.      LEO delivered the Termination Notice with no prior notice or indication to Portal

other than a prior-day phone call.

       23.      Upon sending the Termination Notice, LEO infmmed Portal that it was pleased

with Po1tal's performance and was not te1minating the Agreement and development of the l x2mL




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System for cause, but that LEO had chosen to go in a different direction with respect to its product

development.

        24.    Per the Agreement, whether LEO chose "to tenninate the Agreement in its entirety,

on a Product-by-Product basis, or on a county-by-country [sic] basis," it was required to provide

"ninety (90) days' prior written notice." Agreement§ l 7.2(a) (Ex. A).

        25.    Therefore, LEO's ternlination of the Agreement was effective as of December 22,

2021.

        26.    Likewise, LEO's termination of the development of the lx2mL System was

effective as of December 22, 2021.

        27.    After providing the Te1mination Notice, LEO did not provide Po1tal payment of the

Development Fee installment due for the fourth quruter of 2021 (the period October 1, 2021 to

December 31, 2021) (the "8th Qua1terly Payment").

C.      LEO Breached the Agreement by Not Making the 8th Quarterly Payment

        28.    The 8th Quaiterly Payment was due on October 1, 2021.

        29.    The 8th Qua1terly Payment covers the period October 1, 2021 to December 31,

2021 (i.e., the 8th of 10 quruterly pe1iods contemplated by Section 7.2(a) of the Agreement).

        30.    Section 7.2(a) of the Agreement finther provides that, following LEO's te1mination

of the development of the lx2mL System, it "shall have no obligation to make any future

installment payments towards the lx2mL System Development Fee."

        31.    LEO's te1mination of the l x2mL System's development had not taken effect at the

time that the 8th Qua1terly Payment was due.

        32.    New York Law governs the Agreement.




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        33.     Under New York law, all contractual obligations-including payments -remain in

effect dming the period between the notice of contract tennination and the effective date of

ternlination.

        34.     The 8th Qua1terly Payment is not a "future installment payment" in the meaning of

Sec. 7.2(a) of the Agreement, since it was due well before the lx2mL System's development was

temlinated effective December 22, 2021, and because it is for the period October 1, 2021 to

December 31 , 2021, dming which period the Agreement was in effect.

        35.     As is common industry practice, the Pa1ties' clear intent, in requiring a 90-day pre-

ternlination notice period in Sec. 17.2(a), and requiring that installment payments be made at the

beginning of each qua1ter, was to allow Po1tal time to wind down its development program upon

notice of te1mination while not immediately losing its right to compensation for ongoing work

dming the notice period and as Po1tal wound down the project.

        36.     The Agreement required LEO to pay P01tal the 8th Quarterly Payment o f -

-       on October 21, 2021.

        37.     As of the filing of this action, LEO has not made any Development Fee payments

to Portal beyond the 7th of 10 quaiterly payments. LEO has not paid Po1tal the 8th Qua1terly

Payment.

D.      The Milestone Payment and Milestone Event

        38.     In addition to LEO' s failure to pay the 8th Quaiterly Payment, LEO committed

additional and distinct breaches of the Agreement. Sepai·ately from the Development Fee, LEO

also promised to pay Po1tal one-time incentive payments for completing ce1tain milestones in the

development of the lx2mL System (the "Milestone Payments").

        39.     Under Section 7.3 of the Agreement, LEO was obliged to "make the following non-

refundable, non-creditable Milestone Payments (the "Milestone Payments") to P01tal within f01ty-


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five (45) days after achievement of the relevant milestone set out below." Section 7.3 also

contained a table of relevant milestones and their associated payments.

        40.    Section 7.3 of the Agreement stated that, if Portal completed "a pha1macokinetic

study in animals in which a Third Patty dete1mines that

                                                                     ," (the "Milestone Event") LEO

would be obligated to make a Milestone Payment of -                   to Po1tal as long as the study

included a '                                                                   and descriptions of

attainment of pha1m acokinetic endpoints and such safety experience as [had] been obse1ved."

        4 1.    Under Section 4.1 of the Agreement, LEO had "prima1y control and direction in

the Project" when "planning, funding and executing all Clinical Trials and other clinical

Development activities related to the Product," but was obligated to "use Commercially

Reasonable Eff01ts" with respect to such tti als.

       42.      In Febrnaty 2021, a third patty, Charles River Laboratories ("CRL") completed a

phatmacokinetic bioequivalence study on animals ("PK Study") using the l xmL System as

specified in the Agreement.

        43.     A fo1mal bioequivalence study typically requires a crossover design, which means

that test subjects receive both types of tt·eatments in the study.

        44.    The FDA guidance for bioequivalence studies of this nature allows them to be

conducted in a non-crossover manner, but in that case, the study can only look at the average

results across each tested group as a sunogate finding for bioequivalence.

        45.     LEO




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E.        LEO Was Obligated to Make the Milestone Payment

          46.     After completion of the study, LEO acknowledged orally that the Milestone Event

had been achieved and that it would make the Milestone Payment as soon as CRL issued its final

repo1i.

          47.     On June 15, 2021, CRL's phrum acokinetic lead Oriel Peris signed the PK Study

repo1t . On the same day, CRL shared the report with LEO.

          48.     Section 6.1 of the PK Study report states that



-         - In Section 6.2, named "Phrumacokinetic Evaluation," it fmther states that -

                                                                             . This was based on

maximum drng concentration (Cmax) and on the integral of the concentration-time-curve (AUCco-

t)).

          49.     Lastly, it concluded



          50.     These conclusions are

                  , confuming that the Milestone Event had been achieved (as LEO had previously

admitted) and triggering LEO 's duty to make the Milestone Payment.

F.        LEO Breached the Agreement by Not Making the Milestone Payment

          51.     Despite the study's findings, LEO did not make the -          Milestone Payment.

As such, it committed a sepru·ate and independent breached the Agreement, specifically Section

7.3 of the Agreement.

          52.     In an attempt to avoid making the Milestone Payment,




-               • LEO asserted that the PK Study had not found bioequivalence and that the Milestone


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Event had not been achieved, notwithstanding a separate study having already confumed such

bioequivalence.

         53.    LEO' s




                                            . Through these tactics, LEO intentionally skewed the

PK Study data, which LEO then attempted to use to claim bioequivalence criteria had not been

found.

         54.    LEO also

                                                                                    , again, in order

to drive a conclusion that could potentially avoid its contractual obligations to make the Milestone

Payment.

         55.    The true motivations behind LEO' s study were later revealed and confamed. As

Portal ultimately discovered, at or around the time the Milestone Event was achieved, LEO had

already changed its business plans, and thus wanted to lower all expenses incmTed under the

Agreement. In an attempt to do so, LEO

                                  so as to avoid paying Pottal t h e - Milestone Payment.

         56.   Notwithstanding this bad faith attempt to avoid payment, LEO' s post-hoe analysis

is ultimately inelevant to its obligations under the Agreement, since the Milestone Event is defined

as based on a third patty report concluding bioequivalence (or its sunogate), not LEO's own

interpretation of the third patty study.




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        57.    Moreover, although driven by an attempt to avoid a payment owed,




        58.    FDA guidance states that when a chug is delivered at concentrations above the

bioequivalence level, it will still pass a bioequivalence test as long as the amount delivered is

within safety margins - which it was in this case. But LEO did not acknowledge or consider this

guidance when claiming that Portal's product had not achieved bioequivalence.

        59.    All aspects of the PK Study show that LEO intentionally stm chlred the study and

its analysis to avoid making a payment that it knew it owed. First, LEO



Second, when their own shldy design showed that Portal had achieved bioequivalence, LEO



                   . Third, after even -             showed that the milestone had been achieved,

LEO continued to deny it and refused to make the payment.

       60.     Thus, the Milestone Event was completed, triggering LEO' s obligation to make the

Milestone Payment. The Milestone Payment was to be made within 45 days, i.e. no later than July

30, 2021.

        61 .   As of the filing of this action, LEO has not made the Milestone Payment.

                                      *     *        *      *

                                  FIRST CAUSE OF ACTION

                    Breach of Contract: Non-Payment of Development Fee

        62.    The allegations contained in paragraphs 1-37 above are incorporated herein as if

fully set forth below.

        63.    The Agreement is a valid and binding contract.


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        64.     Pursuant to Section 7.2(a), the 8th Qua1terly Payment was due at the beginning of

the fourth qua1ter of 2021, on October 1, 2021. The Agreement was in effect on October 1, 2021

and for approximately 12 weeks thereafter.

        65.     LEO failed to make the 8th Qua1terly Payment as contractually obligated.

        66.     By failing to make the 8th Qua1ierly Payment, LEO breached its contractual

obligations.

        67.     By reason of the foregoing, LEO 1s liable for                  plus interest and

attorneys' fees and costs.

                                  SECOND CAUSE OF ACTION

                    Breach of Contract: No Payment of Milestone Payment

        68.     The allegations contained in each preceding paragraph above are incorporated

herein as if fully set fo1th below.

        69.     The Agreement is a valid and binding contract.

        70.     Section 7.3 of the Agreement obligates LEO to make the Milestone Payment within

45 days after the Milestone Event has been achieved.

        71.     P01ial achieved the Milestone Event.

        72.     Although the Milestone Payment obligation was triggered through completion of

the Milestone Event, LEO did not make the Milestone Payment in due time, thus breaching the

Agreement.

        73.     By reason of the foregoing, LEO is liable in the amount o f - plus interest

and attorneys' fees and costs.




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                                      THIRD CAUSE OF ACTION

                 Breach of Implied Covenant of Good Faith and Fair Dealing

        74.     The allegations contained in each preceding paragraph above are incorporated

herein as if fully set forth below.

        75.     The Agreement, like all contracts, contains an implied covenant of good faith and

fair dealing.

        76.     LEO did not act fairly and in good faith when it inf01med P01tal of its intent

te1minate the Agreement and then refused to make any futther payments in the period after

providing notice of intent to ternlinate but before that te1mination was effective.

        77.     As LEO knew and intended, Portal made long te1m resource allocations and entered

long te1m agreements with employees and suppliers when it began working on the lx2mL System.

The parties did not agree, or intend, that while P01tal had such obligations, including performance

during the 90-day notice period, LEO would be able to provide 90-day notice of intent to terminate

development of the lx2mL System yet have no obligation to compensate Portal during that 90-

day period.

        78.     By refusing to make the 8th Quarterly Payment, despite knowing that the

Agreement continued in full force and effect for the 90-day period between notice and te1mination,

LEO breached its covenant of good faith and fair dealing.

        79.     LEO also did not act fairly and in good faith when it designed the PK Study to avoid

having to admit that the lx2mL System had achieved bioequivalence.

        80.     LEO also did not act fairly and in good faith when it

-          to avoid t h e - Milestone Payment. LEO represented to Po1tal that it intended

to perform under the Agreement, when in fact it had already decided to change its business plans

and subsequently avoid all payments towards P01tal.


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       81.     LEO took these bad faith actions in order to avoid payment obligations that were

due and owing under Sections 7.2 and 7.3 of the Agreement, depriving Portal of the benefit of its

bargain.

       82.     By reason of the foregoing, LEO is liable in the amount at l e a s t _, plus

additional damages to be dete1mined at trial, plus interest and attorneys' fees and costs.

                                    PRAYER FOR RELIEF

       WHEREFORE, Portal respectfully requests judgment as follows:

       1. Awarding Po1tal compensato1y damages resulting from LEO' s breach of contract in an

amount to be dete1mined at trial;

       2. Awarding Po1tal compensato1y damages resulting from LEO' s breach of the implied

covenant of good faith and fair dealing in an amount to be dete1mined at trial;

       3. Awarding P01tal its attorneys' fees, costs and disbursements incmTed in connection

with its effo1ts to enforce the Agreement;

       4. Awarding prejudgment interest to be proved at trial;

       5. Granting such other relief as the Comt deems just and proper.




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Dated: October 25, 2022              Respectfully submitted,
       New York, New York
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